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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 )        Chapter 11
                                                       )        Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al.,                              )        (Jointly Administered)
                                                       )
                           Debtors.                    )        Related D.I. No.: 22806, 22814



             OBJECTION OF MARYLAND CASUALTY COMPANY TO
        BNSF RAILWAY COMPANY’S CONFIDENTIAL INITIAL DEPOSITION
    DESIGNATIONS OF TESTIMONY OF JEFFREY POSNER, RICHARD FINKE, JAY
                  HUGHES, AND PETER VAN N. LOCKWOOD
                                AND TO
         THE LIBBY CLAIMANTS’ NOTICE OF FILING TRANSCRIPT AND
                   DEPOSITION EXCERPT DESIGNATIONS

         Maryland Casualty Company (“MCC”), by and through its undersigned counsel, hereby

objects to the BNSF Railway Company’s Confidential Initial Deposition Designations of

Testimony of Jeffrey Posner, Richard Finke, Jay Hughes, and Peter Van N. Lockwood [D.I. No.

22806] (“BNSF Designations”) and Libby Claimants’ Notice of Filing Transcript and Deposition

Excerpt Designations [D.I. No. 22814] (“Libby Claimants’ Designations”) as follows:1

         1.       MCC objects to the testimony designated by the BNSF Designations and Libby

Claimants’ Designations (collectively, “Designated Testimony”) based upon any and all

objections that were raised at the respective deposition to the question or statement that gave rise

to the designated response.

         2.       MCC objects to all Designated Testimony from proceedings other than the above-

captioned bankruptcy cases. Such testimony is hearsay and is inadmissible under Rule 802 of

the Federal Rules of Evidence. See also, New Jersey Turnpike Authority v. PPG Industries, Inc.,


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  MCC reserves its right to object to testimony designations filed by other parties, including the Plan Proponents, to
the extent that such designations are offered in opposition to the positions set forth in the Supplemental Pre-Trial
Submission of Maryland Casualty Company, or as otherwise warranted by the context and purpose for which it is
used.
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197 F.3d 96, 110 (3d Cir.1999) (“the declarant must be unavailable; testimony must be taken at a

hearing, deposition, or civil action or proceeding; and the party against whom the testimony is

now offered must have had, or its predecessor in interest must have had, an opportunity and

similar motive to develop the testimony by direct, cross, or redirect examination”).

       3.         MCC objects to all portions of the Designation Testimony that are inconsistent

with MCC’s interests on the basis that such Designated Testimony:

            (a)      is irrelevant, immaterial and/or unnecessary and is thus inadmissible under
                     Rules 402 and 403 of the Federal Rules of Evidence;

            (b)      is hearsay and is thus inadmissible under Rule 802 of the Federal Rules of
                     Evidence;

            (c)      constitutes opinion testimony by a lay witness and is thus inadmissible under
                     Rule 701 of the Federal Rules of Evidence;

            (d)      lacks foundation; and

            (e)      is not the best evidence.

       4.         MCC reserves its right to object to the Designated Testimony on any grounds

under the Federal Rules of Evidence based upon the context and/or purported purpose of the

testimony as offered.

       5.         This Objection is submitted without waiver of any of MCC’s rights, including its

right to raise additional objections to evidence introduced by other parties prior to or during the

Phase II Plan Confirmation Hearing.

       6.         MCC hereby joins objections to the designated testimony filed by other parties, to

the extent that such objections are consistent with MCC’s interests.




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